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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH DAKOTA

  EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION,
                                                   Civil Action No. 4:16-cv-04I31-KES
                       Plaintiff,

         V.
                                                   CONSENT DECREE

  M.G. OIL COMPANY d/b/a/ HAPPY
  JACK'S,

                       Defendant.




        The United States Equal Employment Opportunity Commission("EEOC" or

 "Commission")initiated this action in the United States District Court for the District of

 South Dakota, alleging that, under Title I of the ADA,M.G. Oil Company, d/b/a Happy

 Jack's("M.G. Oil Company"), had discriminated against Kim Mullaney(Mullaney) by

 withdrawing an offer of employment in violation of the ADA,based on results of a drug

 test showing the lawful presence of a prescribed medication. The EEOC also alleged that

 Defendant M.G. Oil Company maintained an unlawful policy requiring employees and

 applicants to report prescription and nonprescription medication that they were taking.

        M.G. Oil answered the EEOC's complaint and denied the EEOC allegations

 asserting that it did not discriminate against Mullaney and that it relied on its third-party

 testing vendor to inform M.G. Oil that Mullaney was taking prescription drugs. It further

 alleged that its reporting policy applied only to persons performing safety sensitive

 functions.
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          In reaching this Consent Decree, the EEOC and M.G. Oil Company, acting by and

 through their counsel, engaged in arms' length negotiations. The parties obtained

 sufficient information to assess reliably the relative merits of the claims and defenses.

 Throughout this process, the EEOC and M.G. Oil Company were represented by counsel

 knowledgeable in this area ofthe law.

          Therefore, it is ORDERED,ADJUDGED,AND DECREED that;

    I.       JURISDICTION

             This Court has jurisdiction over the parties and the subject matter of this

             action,


     n.      FINDINGS

             The purposes of the ADA and the public interest will be furthered by the entry

             of this Consent Decree,


     m.       SCOPE

              The negotiation, execution, and entry of this Consent Decree will resolve all

              claims of ADA violations brought by the Commission against Defendant

              alleged in the instant civil action. This Consent Decree relates only to the

              violations alleged in EEOC Charge Number 846-2013-33816 and the instant

              civil action.


     IV.      TERM


              a. The Term of this Consent Decree and all obligations hereunder will be two

                 (2) years from the Effective Date hereof. The Effective Date hereof will be

                 the date that the District Court approves this Consent Decree. If, at the end
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            of the two(2) year period, any disputes regarding Defendant's compliance

            with this Decree remain unresolved,the term of this Decree shall be

            extended automatically(and the Court will retain jurisdiction of this matter

            to enforce the Decree) until such time as all such disputes have been

            resolved.


         b. If Defendant fails to perform its obligations during the Term of this

             Consent Decree,the EEOC is empowered to enforce this Consent Decree

             through applicable judicial enforcement procedures and to seek sanctions

             which may be due because of the need to enforce this Consent Decree.

          c. Should any provision ofthis Consent Decree be determined by a Court to

             be illegal or invalid, the validity ofthe.remaining parts, terms or provisions

             shall not be affected, and said illegal or invalid part, term, or provision shall

             be deemed not to be a part of this Consent Decree.

          d. This Consent Decree sets forth the entire agreement between the

             Commission and Defendant as to the resolution of the captioned lawsuit.

    V.    INJUNCTION

          a. During the term ofthis Consent Decree, M.G. Oil Company and its

             successors and assigns are hereby enjoined from:

                 i. Denying employment to any applicant based upon the non-negative

                    result of a drug test where the person's result was confirmed by an

                     Medical Review Officer(MRO),paid by Defendant, to be caused by

                     lawfully prescribed medication.
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                ii. Retaliating against any employee who participated ia an EEOC

                   investigation or this litigation, or who asserted any rights under or

                   benefitted from this Decree.


               iii. Maintaining a policy whereby all employees must report to M.G. Oil

                    Company whether they were taking prescription or over-the-counter

                    medication other than as stated in Section VI(b).

          b. During the term of this Consent Decree, M.G. Oil Company and its

             successors and assigns shall inform any vendor performing drug tests of

             applicants or employees that they must provide any applicant or employee

             who has a non-negative result a reasonable opportunity to explain the

             result, and that they shall permit the applicant or employee the opportunity

             to provide documentation that the non-negative result was caused by a

             lawfully prescribed medication.

    VI.   POLICIES AND POSTINGS


          a. Within ninety(90) days of the entry of the Consent Decree, Defendant shall

             review all relevant policies to assure that the policies are consistent with the

             injunctive relief in this Decree.

          b. Within sixty(60) days ofthe entry ofthe Consent Decree, M.G. Oil shaU

             revise its Employee Handbook as follows: Employees as to whom M.G. Oil

             has reasonable suspicion to believe have ingested medication or drugs that

             may affect performance may be required to report what,if any, substances
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             were ingested. M.G. Oils may require drug testing to the extent it is job

             related and is a business necessity,

          c. Defendant shall post within ninety(90) days from the entry of this Consent

             Decree, and keep posted, in conspicuous places in the Human Resources

             area the posting attached as Exhibit A. Defendant shall simultaneously post

             the notice on any intranet site where employees regularly have access.

             Defendant shall ensure that the posted Notice remains unobscured and,

             during the term of this Decree, will replace any damaged or defaced Notice.

    Vn.   TRAINING AND OVERSIGHT

          a. Within ninety(90) days of the entry ofthis Consent Decree, Defendant

             agrees to conduct a training meeting on the provisions of this Consent

             Decree with the following: (a)its Human Resources department personnel;

             (b)aU persoimel responsible for retaining or overseeing any vendor to

              perform drug tests of applicants or employees;(c) all personnel responsible

              for hiring; and,(d) all personnel responsible for communicating the drug

              test protocols and procedures to applicants and employees.

                 i. The training shall include an explanation ofthe provisions of this

                     Consent Decree,and the requirements of the ADA and their

                     regulations as they pertain to the rights of persons who use

                     prescription drags for disabling conditions.
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                ii. The training shall be conducted by an outside trainer with experience

                   in employment discrimination law, and rights and responsibihties

                   imder the ADA.


               iii. Training of Human Resources and managers located in Rapid City

                    will be conducted in person. For managers located outside of Rapid

                    City, training will be conducted via videoconference technology.

                   For employees, training will be made available on the website.

               iv. Seven (7) days before the manager training. Defendant will provide

                    the EEOC with the identity ofthe trainer, and a copy of the agenda

                    and materials.


          b. Within one hundred eighty(180) days of the entry of this Consent Decree,

             Defendant will place the training materials prepared for Section VII(a)

             above on M.G. Oil's website available to all employees. The website will

             inform the employees who to contact in the Human Resource Department if

             the employee has a question about the training materials.

    Vm. REPORTING REQUIREMENTS.

          a. Defendant shall provide the Commission with two(2)written reports, the

             first on the date falling six (6) months after the entry of this Consent Decree

             by the Court, and the second report due twelve (12) months thereafter.

          b. The reports will be sent via email to eeoc-ninao-decree-

             monitoring@eeoc.gov.


          c. These reports will set forth the following:

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                i. A certification that the required trainings have been completed,

                   accompanied by a list of all individuals who attended the training

                   discussed in paragraph Vn(a).

               ii. A certification that all policies have been reviewed and modified

                   where necessary.

               iii. A certification that all appropriate vendors have been informed of

                   their obhgation to provide applicants and employees an opportunity

                   to explain any non-negative drug test results, including by

                   submitting documentation that the non-negative test resulted from

                   the ingestion of lawfully prescribed drugs.

               iv. A certification that all applicants not hired because of a non-negative

                   result on their drug test were provided an opportunity to explain the
                                                      v.




                   result, including submission of documentation that the non-negative

                   test resulted from the ingestion of lawfully prescribed drugs, and that

                   the certification is being submitted in compliance with this Consent

                   Decree.


          d. If EEOC requests. Defendant shall make documents or records relating to

             the reports available to EEOC within thirty(30)calendar days of EEOC's

             request to Human Resources, currently Taimer Pruess. In addition.

             Defendant shall require persoimel within its employ or under its authority

             or control, and whom EEOC requests to verify compliance with this

             Decree, to cooperate with EEOC,and to be interviewed upon EEOC's

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            request, and shall permit an EEOC representative to enter its premises for
             such purposes.

    IX.   INDIVIDUAL REMEDY

          a. SETTLEMENT PAYMENT

                 i. Within thirty(30) days ofthe entry of this Consent Decree by the

                    Court, Defendant shall pay to Kim Mullaney the sum of $45,000

                    (Forty-Five Thousand Dollars)("Settlement Payment"). Payment

                    will be evidenced by issuance of an IRS form 1099.

                ii. Upon delivering the Settlement Payment as set forth above.

                    Defendant shall, on the same date, deliver to counsel for the EEOC,

                    at the address below, a copy of the check(s) remitted to Kim

                     Mullaney, and tracking information for delivery.

                iii. Each party,including Mullaney, shall be responsible for their own

                     tax liability arising out of the terms of this settlement/consent decree.

    X.    SUCCESSORS

          This Decree shall bind all present and future directors, officers, managers,

          agents, successors and assigns ofDefendant. Defendant and any of its
          successors shall provide a copy of this Decree to any organization or person

           who proposes to acquire or merge with it, or witii any successor, before any
           such asset sale, acquisition or merger. This paragraph shall not limit the

           remedies available should the Court find any party in violation of this Decree.
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    XI.    COSTS AND ATTORNEYS FEES

           Each party will bear that party's own costs and attorney's fees.

    XII.   COURT APPROVAL

           Both parties request that this Court approve this Consent Decree, without costs

           to either party, and with the Court reserving jurisdiction only as necessary to

           enforce this Consent Decree.


    Xm. ENFORCEMENT


           In the event a breach of this Consent Decree is alleged by the EEOC to have

           occurred, the EEOC shall provide notice ofthe same to M.G. Oil which shall

           have thirty(30) days to respond to the same from the date of receipt by U.S.

           Mail. M.G. Oil will have another thirty(30) days to remedy any alleged

           breach. If the parties carmot reach an informal resolution of this matter, the

           parties may mediate the matter. The term of this Consent Decree shall be

           extended if necessary to resolve a dispute under this Section. Nothing herein

           will bar the EEOC from seeking emergency rehef from the Court.

 IT IS SO ORDERED.


  THUS DONE AND SIGNED,on this                  day of         2018.




                                           UNITED STATES DISTRICT JUDGE
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 APPROVED AS TO FORM AND CONTENT:



 DATED: May 4, 2018


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                                       EXBIBIT A


                               NOTICE TO EMPLOYEES

          This Notice is posted pursuant to a Consent Decree resolving a lawsuit with the
   United States Equal Employment Opportunity Commission("EEOC"). The EEOC
   brought suit against M.G. Oil Company d/b/a Happy Jack's("M.G. Oil Companj^"),
   alleging that it violated the Americans with Disabilities Act by failing to provide
   reasonable accommodations for an applicant's use of prescribed medication and the
   Company's prior policy requiring employees to self-report prescribed medications. IVLG.
   Oil denies the allegations but has agreed to enter into a Consent Decree.
          The Consent Decree resolving this lawsuit provides relief. It requires M.G. Oil
   Company to make policy changes and report on its testing practices. The Decree also
   requires training of hiring managers and human resource employees on the terms ofthe
   Decree.
         If you have a question about the Consent Decree, you should contact the
   Minneapolis office of the EEOC at(612)335-4040. You can find out more about the
   EEOC and the lawS'that it enforces by going to http:/Avww.eeoc.gov.

                                 M.G. OIL COMPANY d/b/a HAPPY JACKS CASINO



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